                 Case 3:14-cv-01899-GPC-JLB Document 58 Filed 11/10/21 PageID.430 Page 1 of 5



                      1      DAVID R. ZARO (BAR NO. 124334)
                             JOSHUA A. DEL CASTILLO (BAR NO. 239015)
                      2      ALLEN MATKINS LECK GAMBLE
                               MALLORY & NATSIS LLP
                      3      865 South Figueroa Street, Suite 2800
                             Los Angeles, California 90017-2543
                      4      Phone: (213) 622-5555
                             Fax: (213) 620-8816
                      5      E-Mail: dzaro@allenmatkins.com
                                     jdelcastillo@allenmatkins.com
                      6
                             Attorneys for Former Receiver
                      7      THOMAS A. SEAMAN
                      8                                     UNITED STATES DISTRICT COURT
                      9                               SOUTHERN DISTRICT OF CALIFORNIA
                     10
                     11 BRUCE J. STANIFORTH,,                             Case No. 3:14-cv-01899 GPC (JLB)
                     12                        Plaintiff,                 Judge Hon. Gonzalo P. Curiel
                     13                v.                                 JOINT STATUS REPORT OF FORMER
                                                                          RECEIVER, THOMAS A. SEAMAN,
                     14 TOTAL WEALTH MANAGEMENT,                          AND PLAINTIFF BRUCE J.
                        INC.; et al.,                                     STANIFORTH, RE: RECEIVERSHIP
                     15                                                   ACTION STYLED SEC v. TOTAL
                                      Defendants.                         WEALTH MANAGEMENT, INC., ET
                     16                                                   AL.
                     17                TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR
                     18 COUNSEL OF RECORD:
                     19                PLEASE TAKE NOTICE THAT, in accordance with this Court's
                     20 November 2, 2021 Order for the parties to file a Status Report regarding the status
                     21 of the above-entitled action as it relates to the Securities and Exchange Commission
                     22 enforcement and receivership action styled SEC v. Total Wealth Management, Inc.,
                     23 et al., USDC, S.D. Cal. Case No. 15-cv-226 BAS (MSB) (the "Receivership Case"),
                     24 Thomas A. Seaman (the "Former Receiver") and Plaintiff Bruce J. Staniforth
                     25 ("Plaintiff") hereby submit the following Status Report:
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                        3:14-cv-01889-GPC (JLB)
                            4864-8805-0946.2
                 Case 3:14-cv-01899-GPC-JLB Document 58 Filed 11/10/21 PageID.431 Page 2 of 5



                      1 I.             RELEVANT STATUS.
                      2                A.      Status Of Receivership Case And Litigation Stay.
                      3                The Former Receiver was discharged in the Receivership Case on April 21,
                      4 2020 (see Receivership Case ECF No. 263), although the Receivership Case itself
                      5 was not terminated, but instead stayed to permit the Former Receiver to make
                      6 distributions of any settlement proceeds thereafter paid to him in connection with
                      7 the then settled asset recovery matter styled Seaman v. Private Placement Capital
                      8 Notes II, LLC, et al., USDC, S.D. Cal. Case No. 16-cv-0578 BEN (DHB) (the
                      9 "PPCN Action"). As detailed below, the settling Defendants in the PPCN Action
                     10 (the "PPCN Parties") were granted twenty-four (24) months from the August 9,
                     11 2019 – to August 9, 2021 – to perform. (See Receivership Case ECF No. 258.) The
                     12 PPCN Parties have failed to satisfy their payment obligations under the terms of the
                     13 relevant settlement agreement and the Former Receiver is now authorized to so
                     14 advise the Court and enter a stipulated default judgment against the PPCN Parties in
                     15 the amount of $5 million.
                     16                It is unclear at this point whether the Former Receiver will recover any funds
                     17 for distribution in connection with the anticipated entry of the $5 million judgment
                     18 against the PPCN Parties. What appears clear is that, the Former Receiver having
                     19 been discharged and released in the Receivership Case, there is no longer any
                     20 receivership res against which the previously imposed litigation stay would apply,
                     21 other than any funds recovered in connection with the settlement in the PPCN
                     22 Action, the distribution of which will be governed by an existing order issued in the
                     23 Receivership Case. Accordingly, the Receiver believes that the litigation stay
                     24 imposed in the Receivership Case pursuant to Judge Bashant's February 12, 2015
                     25 "(1) Preliminary Injunction, Appointment of a Permanent Receiver, and Related
                     26 Orders; and (2) Order Vacating Hearing on Preliminary Injunction" (the
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                           3:14-cv-01889-GPC (JLB)
                            4864-8805-0946.2                              -2-
                 Case 3:14-cv-01899-GPC-JLB Document 58 Filed 11/10/21 PageID.432 Page 3 of 5



                      1 "Appointment Order"1) (Receivership Case ECF. No. 8) no longer remains in effect,
                      2 and does not present a bar to the continued prosecution of the above-entitled action,
                      3 should Plaintiff wish to proceed with his claims. Plaintiff has indicated that he
                      4 intends to continue to prosecute this action.
                      5                B.      Former Receiver's Asset Recovery And Distribution Efforts.
                      6                By February 2019, the Former Receiver's efforts to recover assets for
                      7 distribution to defrauded investors in the Receivership Entities had largely come to a
                      8 close, with the exception of his expectation that the PPCN Parties would perform as
                      9 required by the settlement of the PPCN Action. Accordingly, and with
                     10 approximately $2.8 million on-hand available for distribution to all holders of
                     11 allowed claims, on February 11, 2019, the Former Receiver filed his Motion for
                     12 Order Authorizing an Approving Omnibus Plan for Distribution on Allowed Claims
                     13 (Receivership Case ECF Nos. 245, et seq.), in connection with which the Receiver
                     14 submitted his recommendations to the Court as to which claims against the
                     15 Receivership Entities should be allowed, and in what amounts, and proposed a pro
                     16 rata distribution plan on allowed claims, with distributions to be paid from funds
                     17 then recovered by the Former Receiver, with a potential later distribution to be made
                     18 from any additional settlement payments received from the PPCN Parties. (Id.)
                     19 Plaintiff's claim was recommended for allowance in the amount of $632,783.85,
                     20 with an initial, pro rata, proposed distribution amount of $37,674.68. (Id. at Ex. A.)
                     21 The Former Receiver's Motion was granted on April 8, 2019. (See Receivership
                     22 Case ECF No. 253.) Thereafter, the distributions authorized in connection with the
                     23 Court's Order on the Motion were made.
                     24
                     25
                     26     1
                                 As reflected in prior submissions to this Court, the litigation stay imposed by the
                     27          Appointment Order applied only to those entities placed into receivership,
                                 including Total Wealth Management, Inc. and its subsidiaries and affiliated,
                     28          including but not limited to Altus Capital Management, LLC (collectively, the
       LAW OFFICES
                                 "Receivership Entities").
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                           3:14-cv-01889-GPC (JLB)
                            4864-8805-0946.2                             -3-
                 Case 3:14-cv-01899-GPC-JLB Document 58 Filed 11/10/21 PageID.433 Page 4 of 5



                      1                The Former Receiver's records therefore indicate that Plaintiff received only
                      2 partial reimbursement on his claims against the Receivership Entities. The Former
                      3 Receiver takes no position on whether Plaintiff should be permitted to continue
                      4 prosecuting the above-entitled action to recover on any remaining portion of his
                      5 claims that were not able to be satisfied by the distributions made by the Former
                      6 Receiver, save to reiterate his understanding that the litigation stay no longer bars
                      7 the prosecution of this action against the Receivership Entities.
                      8 II.            CONCLUSION.
                      9                For the foregoing reasons, the Receiver respectfully submits that it is his
                     10 belief that the litigation stay imposed pursuant to the Appointment Order no longer
                     11 bars the prosecution of this action against the Receivership Entities. As such, the
                     12 Former Receiver does not anticipate making any further appearances, either on his
                     13 behalf or on behalf of the Receivership Entities, in the above-entitled action.
                     14
                     15 Dated: November 10, 2021                           ALLEN MATKINS LECK GAMBLE
                                                                             MALLORY & NATSIS LLP
                     16                                                    DAVID R. ZARO
                                                                           JOSHUA A. DEL CASTILLO
                     17
                     18                                                    By:        /s/    Joshua A. del Castillo
                                                                                 JOSHUA A. DEL CASTILLO
                     19                                                          Attorneys for Former Receiver
                                                                                 THOMAS A. SEAMAN
                     20
                     21 Dated: November 10, 2021                           CROSS LAW APC
                                                                           OLEG CROSS
                     22
                     23                                                    By:        /s/    Oleg Cross
                                                                                 OLEG CROSS
                     24                                                          Attorneys for Plaintiff
                                                                                 BRUCE J. STANIFORTH
                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                             3:14-cv-01889-GPC (JLB)
                            4864-8805-0946.2                               -4-
Case 3:14-cv-01899-GPC-JLB Document 58 Filed 11/10/21 PageID.434 Page 5 of 5



  1                                         PROOF OF SERVICE
  2                            Bruce J. Staniforth v. Total Wealth Management, Inc., et al.
                            USDC, Southern District of California – Case No. 14-cv-01899 (GPC) (JLB)
  3
          I am employed in the County of Los Angeles, State of California. I am over
  4 the age of 18 and not a party to the within action. My business address is 865 S.
  5 Figueroa Street, Suite 2800, Los Angeles, California 90017-2543.

  6        On November 10, 2021, I caused to be served on the parties to this action
  7
    addressed as stated on the attached service list or as indicated below, the document
    entitled: JOINT STATUS REPORT OF FORMER RECEIVER, THOMAS A.
  8 SEAMAN, AND PLAINTIFF BRUCE J. STANIFORTH, RE: RECEIVERSHIP

  9
    ACTION STYLED SEC v. TOTAL WEALTH MANAGEMENT, INC., et al.,

 10             E-FILING: By causing the document to be electronically filed via the Court's
                 CM/ECF system, which effects electronic service on counsel who are
 11
                 registered with the CM/ECF system.
 12
           I declare that I am employed in the office of a member of the Bar of this Court
 13 at whose direction the service was made. I declare under penalty of perjury under the

 14 laws of the United States of America that the foregoing is true and correct. Executed
    on November 10, 2021 at Los Angeles, California.
 15

 16

 17
                                                               /s/ Martha Diaz
                                                              Martha Diaz
 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


      4834-9825-2003.5
                                                             -1-
